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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

CHERYL WEIMAR and
KARL WEIMAR,

          Plaintiffs,

v.                                          CASE NO.: 3:19-cv-1137-J-20MCR

THE FLORIDA DEPARTMENT
OF CORRECTIONS and
JOHN DOES 1 – 4,

     Defendants.
_______________________________________/

     NOTICE OF APPEARANCE OF CO-COUNSEL FOR PLAINTIFF

          Marie A. Mattox and Marie A. Mattox P.A. now appear as co-counsel for

Plaintiff and request addition to the CM/ECF and other service lists. The

undersigned requests that all future communications and correspondence be directed

to her.

                                      Respectfully submitted,


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                       CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been
served by electronic service on this 22nd day of October, 2019, to:
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                                   /s/ Marie A. Mattox
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